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 Notice of Appeal Criminal                                                               Rev. 3/88



          United States District Court for the District of Columbia

 UNITED STATES OF AMERICA                           )
                                                    )
                         vs.                        )        Criminal No. 21-CR-175-6 (TJK)
                                                    )
  DOMINIC J. PEZZOLA                                )


                                      NOTICE OF APPEAL


Name and address of appellant:                     United States of America




Name and address of appellant’s attorney:          Jason McCullough, Assistant US Attorney
                                                   Office of the US Attorney for DC
                                                   601 D Street, NW Room 5.118
                                                   Washington, DC 20253

Offense: 18 USC secs. 111(a)(1); 231(a)(3), 2; 372; 1361, 2; 1512(c)(2), 2; 2112

Concise statement of judgment or order, giving date, and any sentence:
     Judgment, entered on September 15, 2023, sentencing defendant to a total 120
     months' incarceration, followed by a total 36 months' supervised release; assessment
     of $600
Name and institution where now confined, if not on bail: Philadelphia FDC


        I, the above named appellant, hereby appeal to the United States Court of Appeals for the
District of Columbia Circuit from the above-stated judgment.
      October 16, 2023                                       United States of America
 DATE                                               APPELLANT
                                                       Jason McCullough
                                                    ATTORNEY FOR APPELLANT

GOVT. APPEAL, NO FEE           ✔
CJA, NO FEE
PAID USDC FEE
PAID USCA FEE
Does counsel wish to appear on appeal?                          YES           NO ✔
Has counsel ordered transcripts?                                YES           NO ✔
Is this appeal pursuant to the 1984 Sentencing Reform Act?      YES           NO ✔
